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4                                                 OK/HAV
     Attorney for Defendant
5
6
7                         IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,           )   No. Cr.S. 04-0104 DFL
                                         )
12             Plaintiff,                )
                                         )   STIPULATION AND [PROPOSED] ORDER
13        v.                             )   RESETTING THE BRIEFING SCHEDULE
                                         )   AND THE HEARING DATE
14                                       )
     MARK ERCKERT                        )   Hon. David F. Levi
15                                       )
               Defendant.                )
16                                       )
     _______________________________
17
18        The defendant, Mark Erckert, by and through counsel, Krista Hart,
19   and plaintiff United States, by and through counsel Phil Ferrari,
20   hereby stipulate and agree that the briefing schedule currently set be
21   reset as follows:
22        Motions and briefs due:      January 19, 2006
23        Opposition briefs due:       February 2, 2006
24        Reply briefs due:            February 9, 2006
25        Hearing date:                February 16, 2006 at 10:00 a.m.
26        It is further stipulated and agreed between the parties that the
27   period from December 29, 2005, and January 19, 2006, should be excluded
28   in computing the time within which the trial of the above criminal
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1    prosecution must commence for purposes of the Speedy Trial Act.             All
2    parties stipulate and agree that this is an appropriate exclusion of
3    time within the meaning of Title 18, United States Code, sections
4    3161(h)(8)(B)(ii) (Local Code T2), and 3161(h)(8)(B)(iv) (Local Code
5    T4).
6            Defense counsel has been in trial in California Superior Court,
7    County of Sacramento, Department 30, case number 05F02818, People v.
8    Davis.     The trial began December 12, 2005, and was expected to last two
9    weeks.     It took longer than expected; counsel gave closing arguments on
10   January 4, 2006.       Defense Counsel has not had time to prepare the
11   motions.
12                                             Respectfully submitted,
13
14   DATED: January 5, 2006                     /s/ Krista Hart
                                               Krista Hart
15                                             Attorney for Defendant
                                               Mark Erckert
16
17   DATED: January 5, 2006                    McGREGOR SCOTT
                                               United States Attorney
18
                                                /s/ Phil Ferrari
19                                             Assistant U.S. Attorney
                                               (signed by Krista Hart per
20                                             telephone conversation)
21
22                                         O R D E R
23
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
24
25
     DATED: 1/10/2006                          /s/ David F. Levi
26                                             HONORABLE DAVID F. LEVI
                                               United States District Judge
27
28                                              2
